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]N 'I'HE UN1TED S'I`A'I`ES DISTRICT COURT
FOR 'I`HE DISTRICT OF KANSAS

SPRINT COMN[UNICATIONS
COI\IPANY L.P.,

Plaintiff,

v. Case No. 05-2433-.]WL

VONAGE HOLDINGS CORP. and
VONAGE AMERICA, INC.,

Defendants.

JURY INSTRUCTIONS

 

 

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INSTRUCTION NO. l

The time has now come for me to explain to you the law that will govern your jury
deliberations

You are duty bound to follow the law as I explain it to you in the instructions that I
am about to give you. You as jurors are the sole judges of the facts. This means that you
must take the law as I explain it to you and apply the law to the facts revealed by the
evidence

Do not single out any one instruction alone as stating the law. Rather, consider my
instructions in their entirety.

Also, do not concern yourselves with the wisdom of the law. Despite any opinion
you may have about what the law should be, you would violate your sworn duty if you
were to base your verdict upon any view of the law other than that given to you in these

instructions

 

 

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INSTRUCTION NO. 2

Counsel’s statements and arguments are not evidence unless they are admissions or
stipulations When the attorneys for both parties agree that a particular fact exists, that is
referred to as a “stipulation” and the jury must accept that stipulation as true.

You may consider as evidence everything that was admitted during trial such as
witness testimony (in person or by deposition), an article or document marked as an
exhibit, or any other matter admitted into evidence such as an admission, agreement, or
stipulation You must entirely disregard any evidence with respect to which I sustained
an objection or which l ordered stricken.

You are to consider only the evidence, but you are not limited to considering only
the bald statements of witnesses In other words, you are not limited solely to what you

see and hear. You are permitted to draw reasonable inferences based on your experience

if-reason and common sense lead you to draw particular conclusions from the evidence

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lNSTRUCTION NO. 3
At times during trial l ruled on the attorneys’ objections to admitting certain items
into evidence. Questions relating to the admissibility of evidence are solely questions of

law for me. You must not concern yourselves with the reasons for my rulings and do not

draw any inferences from my rulings. Consider only the evidence admitted

 

 

 

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INSTRUCTION NO. 4
Some evidence is admitted for a limited purpose only. When I have instructed you
that particular evidence is admitted for a limited purpose, you must consider that evidence

only for that purpose and for no other.

 

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INSTRUCTION NO. 5
Counsel’s statements, arguments, and remarks are intended to help you understh

the evidence and apply the law, but they are not evidence You should disregard any such

comment that has no basis in the evidence.

 

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INSTRUCTION NO. 6
Some of the exhibits contain redactions. The portions of those exhibits have been
redacted either because I have excluded the redacted portions from the evidence or
because the parties have agreed that the redacted portions should not be admitted You
should disregard any redactions just as you would disregard any other evidence that I

have excluded from the record.

 

 

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INSTRUCTION NO. 7
You must weigh and consider the evidence without favoritism for or prejudice

against either party. Do not be influenced by anything not within the issues stated in my

instructions Sympathy should not affect your deliberations.

 

 

 

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INSTRUCTION NO. 8
ln this case, the parties are corporations This should make no difference to you.
You must decide this case as if it were between individuals All persons, including

corporations stand equal before the law, and are to be dealt with as equals in a court of

justice

 

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INSTRUCTION NO. 9
I have not intended in anything that I have said or done - not in these instructions
in any ruling, or in any action or remark I may have made during trial - to suggest how l

would resolve any of the issues in this case.

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INSTRUCTION NO. 10

I will now review for you the parties in this action and their respective positions
that you will have to consider in reaching your verdict.

As you know, this is a patent case It involves U.S. Patent Nurnbers 6,304,572,
6,633,561, 6,452,932, 6,473,429, 6,298,064, and 6,665,294. Because patents are often
referred to by their last three digits, the patents in this case will be referred to as the ‘572,
‘561, ‘932, ‘429, ‘064, and ‘294 patents

The plaintiff in this case, Sprint Communications Company L.P., contends that
Vonage Holdings Corp. and Vonage America, lnc. (collectively referred to as “Vonage”)
has infringed the following claims of these patents by making, selling, offering for sale,

and/or using voice over internet protocol (“VoIP”) telephony systems:

 

‘572 Patent Claims 38, 42, and 51
‘561 Patent Claims l and 23

‘932 Patent Claim 18

‘429 Patent Claims l and 5

‘064 Patent Claims l, 5, and 7
‘294 Patent Claims 19, 26, and 27

 

 

 

 

 

 

 

 

 

Sprint also contends that Vonage’s alleged infringement of the asserted patent claims has
been and continues to be willii.tl. Sprint claims it is entitled to damages caused by that
infringement in the form of a reasonable royalty based on revenue Vonage has received

from its VoIP telephony services

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Vonage denies Sprint’s allegation that it has in&inged the asserted patent claims
ln addition, Vonage contends that the asserted patent claims are invalid for a number of
reasons that l will tell you about shortly. Vonage also denies Sprint’s contention that its

alleged infringement of the patent claims was willful. Furthermore, Vonage disputes

Sprint’s calculation of a reasonable royalty.

 

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INSTRUCTION NO. 1 1
At the beginning of the trial, you saw the video about patents and the patent
system. I will now give you more detailed instructions about the patent laws that

specifically relate to this case.

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INSTRUCTION NO. 12
A patent owner has the right to exclude others from making, using, offering for
sale, or selling the invention covered by its patent claims during the life of the patent.
Whoever makes, uses, offers to sell, or sells what is covered by the patent claims without

the patent owner’s permission is said to “inh'inge” the patent.

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INSTRUCTION NO. 13
As I told you at the beginning of the trial, the claims of a patent are the numbered
sentences at the end of the patent. The claims describe the invention made by the
inventor and describe what the patent owner owns and what the patent owner may prevent
others from doing. Claims may describe products systems or methods for making or
using a product or system.

Claims are usually divided into parts or steps, called “limitations.”

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INSTRUCTION NO. 14

To decide whether or not an accused product, system, or method infringes a patent
or whether or not a patent is valid, the first step is to understand the meaning of the words
used in the patent claims

It is my job as judge to determine what the patent claims mean and to instruct you
about that meaning You must accept the meanings I give you and use them when you
decide whether or not the patent is infringed and whether or not it is invalid

Before 1 instruct you about the meaning of the words of the claims, I will explain
to you the different types of claims that are at issue in this case

I will be giving you a list of the claims of the asserted patents at issue in this case

as part of the verdict form when I conclude my instructions

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]NSTRUCTION NO. 15
Patent claims may exist in two forms, referred to as independent claims and
dependent claims An independent claim does not refer to any other claim of the patent
Thus, it is not necessary to look at any other claim to determine what an independent
claim covers

The following claims at issue in this lawsuit are independent claims:

 

‘572 Patent Claim 38
‘561 Patent Claim 1
‘932 Patent Claim 18
‘429 Patent Claim l
‘064 Patent Claim 1
‘294 Patent Claim 19

 

 

 

 

 

 

 

 

 

A dependent claim refers to at least one other claim in the patent. A dependent
claim includes each of the limitations of the other claim or claims to which it refers, as
well as the additional limitations recited in the dependent claim itself. Therefore, to
determine what a dependent claim covers, it is necessary to look at both the dependent
claim and the other claim to which it refers

For example, claim 42 of the ‘572 patent is a dependent claim. It refers to claim

 

38 of the ‘572 patent. To determine what dependent claim 42 of the ‘572 patent covers,

the words of that claim and the words of claim 38 of the ‘5'72 patent must be read

together.

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The following claims at issue in this lawsuit are dependent claims:

 

‘572 Patent Claims 42 and 51
‘561 Patent Claim 23

‘429 Patent Claim 5

‘064 Patent Claims 5 and 7
‘294 Patent Claims 26 and 27

 

 

 

 

 

 

 

 

The verdict form that l have provided to you indicates which of the asserted patent

claims are independent claims and which are dependent claims

 

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INSTRUCTION NO. 16

The beginning portion, or preamble, of the claims of the asserted patents use the
word “comprising.” “Comprising” has a special meaning in patent law, and it means
“including” or “containing.” A claim that uses the word “comprising” or “comprises” is
not limited to products, systems, or methods having only the limitations that are recited in
the claim, but also covers products, systems, or methods that add additional elements or
steps

All of the asserted claims in this case use the “comprising” language Thus, if you
find that the accused system contains each limitation of an asserted clajm, then that claim

is infringed even if the accused system contains additional features not found in the claim.

 

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INSTRUCTION NO. 17
I have now instructed you as to the types of claims at issue in this case 1 will next
define the meaning of the words used in the patent claims at issue You must rely
exclusively on the definitions 1 provide to you in your consideration of infringement and
invalidity issues
You should give the rest of the words in the claims their ordinary meaning in the

context of the patent specification and prosecution history.

The ‘572 Patent

 

In the ‘572 patent, the following phrases in claim 38 have the following meanings

l.) “in-band telecommunications signaling” means signaling that is sent on the
same communications path as that used for voice and/or data;

2.) “out-of-band telecommunications signaling” means signaling that is sent on a
separate channel from that used for voice and/or data‘,

3.) “signaling message” means a message used to setup or tear down a call ; and

4.) “generate the first control message” means assembling information to create a

first control message

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Th ‘561 Patent

In the ‘561 patent, the following phrases in claim l have the following meanings:

l.) “signaling message” means a message used to set up or tear down a call;

2.) “comrnunication system” means a plurality of network elements and
connections forming a network to transfer information;

3.) “a network code that identifies a network element to provide egress from the
packet communication system” means a logical address identifying a network element
which network element provides an exit from a packet communication system‘,

4.) “generating a control message indicating the network code” means assembling
information to create a control message indicating the logical address of a network
element; and

5.) “using the network code to route the user communication through the packet
communication system to the network element” means using the logical address
identij§)ing a network element (which network element provides an exiij$'om the packet

communication system) to direct the user communication through the packet
communication system by a selected route or in a specified direction to the network

element that provides an exit from the packet communication system.

 

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The ‘932 Patent
ln the ‘932 patent, the following phrases in claim 18 have the following meanings:
1.) “Erst message” means a signaling message that is distinct from the second
message;
2.) “communication system” means a plurality of network elements and
connections forming a network to transfer information; and
3.) “generate . . . a second message” means assemble information to create a

second message.

The ‘429 Patent

ln the ‘429 patent, the following phrases have the following meanings:

1.) “identifier” in claim l means data for routing user information in a packet
network;

2.) “generating a message” in claim l means assembling information to create a
message;

3.) “interworking unit” in claim l means ATM interworlcing multiplexer;

4.) “DSO connection” in claim l means a channel over which DSO communication
signals (a term of art meaning Digital Signal Level O) are transmitted or received; and

5.) “telecommunication switches” in claim 5 means devices that set up calls and

relay voice and/or data information from one connection to another.

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The ‘064 Patent

 

In the ‘064 patent, the following phrases have the following meanings:
l.) “setup signaling” in claim l means a message or messages used to set up calls;
2.) “generating a message” in claim 1 means assembling information to create a

message;

3.) “interworking unit” in claim l means ATM interworking multiplexer',

 

4.) “DSO connection“ in claim 1 means a channel over which DSO communication

signals (a term of art meaning Digital Signal Level 0) are transmitted or received', and

5.) “telecommunication switches” in claim 7 means devices that set up calls and

relay voice and/or data information from one connection to another.

The ‘294 Patent

 

ln the ‘294 patent, the following phrases have the following meanings:

1.) “identifier” in claim 19 means data for routing user information in a packet

network;

2.) “routing” in claim 19 means directing through a communication system by a

selected route or in a specified direction;

3.) “interworking device” in claim 19 means ATM interworking multiplexer',

4.) “signaling message” in claim 19 means a message used to set up or tear down a

call; and

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5.) “DSG communication signal” in claim 26 is a term of art meaning a Digital

Signal Level O. -

 

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INSTRUCTION NO. 18

In order to infringe a patent claim, a system or method must include every
limitation of the claim. You must consider each of the asserted claims separately

A claim limitation may be present in an accused system in one of two ways, either
literally or under what is known as the doctrine of equivalents A claim limitation is
literally present if it exists in the accused system just as it is described in the claim
language, either as l have explained that language to you or, if I did not explain it, as you
understand it. If each limitation in a claim is present in the accused system, it literally
infringes

A claim limitation is present in an accused system under the doctrine of
equivalents if the differences between the claim limitation and the substituted component
or step of the accused system are insubstantial One way to determine whether
differences are insubstantial is to look at whether or not the substituted component or step
of the accused system performs substantially the same function, in substantially the same
way, to achieve substantially the same result as the component or step of the claimed
invention Another way is to consider whether or not people of ordinary skill in the field
of the invention believe that the structure or step of the accused product and the structure
or step recited in the patent claim limitation are interchangeable A person of ordinary
skill is a person with average education and training in the field.

Equivalency is determined by what was known at the time of the activities accused
of infringement, and not by what was known at the time the patent application was filed

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or when the patent issued. Thus, the inventor need not have foreseen, and the patent need
not describe, all potential equivalents to the invention covered by the claims. Also, slight
changes in technique or improvements made possible by technology developed after the

patent application is filed may still be equivalent for doctrine of equivalents purposes

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[NSTRUC'I`ION NO. 19

The person of ordinary skill is presumed to know all of the prior art, not just what
the inventor may have known. When faced with a problem, this ordinary skilled person is
able to apply his or her experience and ability to the problem and also to look to any
available prior art to help solve the problem.

Factors to consider in determining the level of ordinary skill in the art include the
educational level and experience of people working in the field, the types of problems
faced by workers in the art and the solutions found to those problems, and the

sophistication of the technology in the field.

 

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INSTRUCTION NO. 20
Taking each of the asserted claims of the asserted patents separately, if you find
that Sprint has proved by the preponderance of the evidence that each and every
limitation of the claim is present, either literally or under the doctrine of equivalents, in
the accused system, then you must find that Vonage infringes that claim. You must

determine whether each and every asserted independent claim has been infringed

 

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INSTRUCTION NO. 21

In reaching your decision on infringement, keep in mind that only the claims of a
patent can be infringed You must compare the asserted patent claims as l have defined
them, to the accused systern, and determine whether or not there is infringement You
should not compare the accused system to any specific figure or example set out in the
asserted patents, or with any of Sprint’s products or services The only correct
comparison is with the language of the claim itself, as I have explained its meaning to
you.

You must consider each claim individually and must reach your decision as to each
assertion of infringement based on my instructions about the meaning and scope of the

claims, the legal requirements for infi‘ingement, and the evidence presented to you by the

parties

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INSTRUCTION NO. 22
Whether or not Vonage knew that what it was doing was an infringement does not
matter. A party may be found to be an infringer of a patent even if that party believes in
good faith that it is not infringing any patent, and even if that party does not even know of

the patent

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INSTRUCTION NO. 23
The fact that Vonage may have purchased components for its system from other
companies does not mean that its system does not infringe the asserted patent claims The
test for infringement remains the same regardless of where Vonage obtained the

components for its system.

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INSTRUCTION NO. 24

My instructions on irrh'ingement so far have related to independent claims As l
told you, the asserted patents also contain dependent claims A dependent claim includes
each of the limitations of the independent claim to which it refers, plus the additional
elements listed in the dependent claim itself.

If you find that an asserted independent claim of the asserted patents has been
infringed, you must separately determine whether each asserted dependent claim that
refers to the independent claim has also been infringed If you find that .an asserted
independent claim is not infringed, then you must also find that all asserted dependent
claims that refer to that independent claim are not infringed You must determine

whether each and every asserted dependent patent claim has been infringed

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INSTRUCTION NO. 25

Evidence has been presented from which you might infer that Vonage’s accused
system represents an improvement of the inventions described in the asserted patent
claims Proof of this fact does not necessarily mean that the accused system does not
infringe the asserted patent claims The tests for infringement remain as I have instructed
you. As long as you find that Vonage’s accused system includes all of the limitations of
any of the asserted patent claims, either literally or under the doctrine of equivalents then
you must find that those asserted patent claims are infringed by Vonage’s accused system,

despite Vonage’s improvements

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INSTRUCTION NO. 26

Up until now, my instructions have focused orr the law you must apply to
determine whether Vonage infringes the asserted patent claims We now turn to the next
major issue in the case, which is the validity of the asserted patent claims

Only a valid patent claim may be infringed For a patent claim to be valid, the
invention claimed in the patent must be new. A patent cannot legally take away the right
to use an identical combination of parts or elements which was already known before the
invention was made The term “new” has a special meaning under the patent laws I will
explain this term to you as we discuss Vonage’s grounds for asserting invalidity

The invention claimed in a patent must also be adequately described In return for
the right to exclude others from making, using, selling, or offering for sale the claimed
invention, the patent owner must provide the public with a complete description in the
patent of the invention and how to make and use it.

Vonage has challenged the validity of the asserted patent claims on a number of
grounds Because each claim of the asserted patents is presumed to be valid, Vonage
must prove that a patent claim is invalid by the clear and convincing standard I will now
explain to you each of Vonage’s grounds for invalidity in detail. In making your
determination as to invalidity, you must consider each of the asserted patent claims

separately

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INSTRUCTION NO. 27

A patent must contain a written description of the system or method claimed in the
patent In order to satisfy the written description requirement, the patent specification
must describe each and every limitation of a patent claim, although the exact words found
in the claim need not be used. The written description requirement is satisfied if a person
of ordinary skill in the field, reading the patent application as originally filed, would
recognize that the patent application described the invention as finally claimed in the
patent.

Vonage contends that each of the asserted patent claims is invalid for lack of an
adequate written description of the claimed invention If you find that Vonage has proved
by clear and convincing evidence that the asserted patents do not contain a written
description of the invention covered by a particular asserted claim, then you must find

that claim to be invalid.

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lNSTRUCTION NO. 28

Vonage contends that the asserted patent claims are invalid for lack of enablement
Vonage bears the burden of proving lack of enablement by clear and convincing
evidence

The written description of the invention claimed in a patent must contain enough
detail to teach, or enable, persons skilled in the field of the invention to make and use the
claimed invention without undue experimentation This is referred to as the enablement
requirement If the patent does not enable one of ordinary skill in the art to practice the
product or method of a patent claim without undue experimentation then the claim is
invalid y

In considering whether or not the written description of a patent meets the
enablement requirement, you must keep in mind that patents are written for persons of
skill in the field of the invention Thus, a patent need not expressly state information that
skilled persons would be likely to already know or could obtain

The fact that some experimentation may be required for a skilled person to practice
the claimed invention does not mean that a patent’s written description does not meet the
enablement requirement, A written description is enabling so long as undue
experimentation is not needed to make or use the invention A permissible amount of
experimentation is that amount that is appropriate for the complexity of the field of the
invention and for the level of expertise and knowledge of persons skilled in that field,

A patent specification must enable those skilled in the art to make and use the full

scope of the claimed invention without undue experimentation as of the time of the

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patent’s effective filing date. This does not mean that the specification itself must
necessarily describe how to make and use every embodiment of or means for
implementing the invention because the artisan’s knowledge of` the prior art and routine
experimentation can often fill gaps, interpolate between embodiments, and perhaps even
extrapolate beyond the disclosed embodiments, depending upon the predictability of the
art. The test for enablement is Whether one of ordinary skill in the art could make or use
the invention from disclosures in the patent specification, coupled with information
known in the art, without undue experimentation It is the specification, not the
knowledge of one skilled in the art, that must supply the novel aspects of an invention.

The enablement requirement does not require an inventor to meet the standards for
success in the commercial marketplace The standard for enablement remains as stated in
this instruction Consequently, you may consider the evidence concerning whether or not
Sprint commercialized the invention or built a working system in deciding the issue of
enablement only if you find that the evidence shows that those of ordinary skill in the art
following the specification were unable to make and use the claimed invention without
undue experimentation

If` you find that Vonage has proved by clear and convincing evidence that the
written descriptions of the patents do not enable a skilled person to make and use the
invention covered by a particular asserted claim without undue experimentation, then you
must find that claim to be invalid. You must make this determination on a claim-by-claim

basis for each of the asserted patent claims.

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INSTRUCTION No. 29

An invention is patentable if it is new in light of the “prior art.” A patent for an
invention that is not new is invalid. “Prior art” is a phrase used in patent law to mean
documents that existed before an inventor formed a complete idea of` how to make and
use his or her invention

Vonage contends that claims 38, 42, and 51 of` the ‘572 patent and claims 1 and 23
of the ‘561 patent are invalid in view of U.S. Patent No. 5,544,163 to Madonna. Vonage
and Sprint agree that this patent existed before Sprint’s patents were filed, but they

disagree as to whether this prior art affects the validity of those claims.

 

 

 

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INSTRUCTION NO. 30

A person cannot obtain a patent on an invention if someone else has already made
the same invention ln other words, the invention must be new. If an invention is not
new, we say that it was “anticipated” by the prior art. An invention that is “anticipat ”
by the prior art is not entitled to patent protection and is invalid. A party challenging the
validity of a patent must prove anticipation with clear and convincing evidence.

ln order f`or an asserted patent claim to be anticipated by the prior art, each and
every limitation of the claim must be present within a single item of prior art,

A patent will not be anticipated unless the prior art contains a description of the
invention covered by the patent claims that is sufficiently detailed to teach a skilled
person how to make and use the invention without undue experimentation That means
that a person skilled in the field of the invention reading the prior art would be able to
make and use the invention using only an amount of experimentation that is appropriate
for the complexity of the field of the invention and for the level of expertise and
knowledge of persons skilled in that field.

In deciding whether or not a single item of` prior art anticipates a patent claim, you
should consider that which is expressly stated or present in the item of prior art, and also
that which is inherently present. Something is “inherent” in an item of prior art if it is
necessarily present in that piece of prior art or always results from the practice of the prior
art, and if a skilled person would understand that to be the case. A party claiming

inherency must prove it by clear and convincing evidence

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ln this case, Vonage contends that claims 38, 42, and 51 of the ‘572 patent and
claims 1 and 23 of the ‘561 patent are anticipated If you find that Vonage has proved by
clear and convincing evidence that one of these claims is anticipated by an item of prior

art, then you must find that particular claim to be invalid.

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INSTRUCTION NO. 31
I have now instructed you as to the law governing Sprint’s claims of infringement
and Vonage’s claims of invalidity, If you ind that the accused system in“d'inges any valid
claim, you must determine the amount of damages to be awarded Sprint for infringement
If`, on the other hand, you find that the accused system does not infringe a valid claim,
then Sprint is not entitled to any damages, and you should not make any findings about
damages.

Sprint has the burden of proving damages by a preponderance of the evidence

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INSTRUCTION NO. 32
If` you find that any asserted patent claim is both infringed and not invalid, then
Sprint is entitled to damages adequate to compensate for the inn'ingernent. In this case,
these damages are a reasonable royalty for the use made of the invention by Vonage.
You may not add anything to the amount of damages to punish Vonage, or to set

an example

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INSTRUCTION NO. 33

I will now discuss the meaning of “reasonable royalty” in greater detail. A
reasonable royalty is defined by the patent laws as the reasonable amount that someone
wanting to use the patented invention should expect to pay to the patent owner and the
owner should expect to receive.

A royalty is a payment made to a patent holder in exchange for rights to make, use
or sell the claimed invention A reasonable royalty is the payment that would have
resulted from a negotiation between Sprint and Vonage taking place at the time when the
infringing use first began ln considering the nature of this negotiation the focus is on
what the expectations of Sprint and Vonage would have been had they entered into an
agreement at that time and acted reasonably in their negotiations

For purposes of determining a reasonable royalty, you must assume that both
parties believed at the time of the negotiation that the asserted patents were valid and
infringed ln addition you must assume that Sprint and Vonage were willing to enter into
an agreement; your role is to determine what that agreement would have been The test
for damages is what royalty would have resulted nom the hypothetical negotiation and
not simply what either party would have preferred

ln deciding what is a reasonable royalty, you may consider the factors that Sprint
and Vonage would consider in setting the amount Vonage should pay.

I will list for you a number of factors you may consider. This is not every possible
factor, but it will give you an idea of the kinds of things to consider in setting a

reasonable royalty.

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l.) Whether Sprint had established a royalty for the asserted patents, for example,
by granting other licenses to the asserted patents.

2.) Royalties paid by Vonage or by others for patents comparable to the asserted
patents.

3.) Whether or not Sprint had a policy of licensing or not licensing the patents.

4.) Whether or_ not Sprint and Vonage are competitors

5.) Whether being able to use the patented invention helps in making sales of
other products or services.

6.) The profitability of the product made using the patent, and whether or not it is
commercially successful or popular.

7.) The advantages and benefits of using the patented invention over products or
methods not claimed in the asserted patents.

8.) The extent of Vonage’s use of the patented invention and the value of that use
to Vonagc.

9.) Whether or not there is a portion or percentage of the profit or selling price that
is customarily paid for use of patented inventions comparable to the inventions claimed in
the asserted patents.

10.) The portion of the profit that is due to the patented invention as compared to
the portion of the profit due to other factors, such as unpatented elements or unpatented
manufacturing processes, business risks, or features or improvements developed by
Vonage.

l 1.) Expert opinions as to what would be a reasonable royalty.

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12.) The nature and scope of the license as exclusive or nonexclusive; or as
restricted or non-restricted in terms of territory or with respect to whom the manufactured
product may be sold.

13.) The duration of the asserted patents and the term of the license

14.) The nature of the patented invention; the character of the commercial
embodiment of it as owned and produced by Sprint; and the benents to those who have
used the invention “

15.) Any other economic factor that a normally prudent business person would,
under similar circurnstances, take into consideration in negotiating the hypothetical

license.

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]NSTRUCTION NO. 34
_ Sprint also contends that Vonage has willfully infringed the asserted patent claims
If you find on the basis of the evidence and the law as I have explained it, that Vonage’s
accused system infringes at least one of the asserted patent claims and that the claim is
valid, you must then decide whether or not Vonage’s infringement was willful.

Although, as I explained before, Sprint must prove infringement by the
preponderance of the evidence standard, the burden of proving that the infringement was
willful is the clear and convincing evidence standard l

To establish willful infringement, a patent owner must show by clear and
convincing evidence that the infringer acted with objective recklessness This means that
the patent owner must show that the inBinger acted despite an objectively high likelihood
that its actions constituted infringement of a valid patent, The state of mind of the
infringer is not relevant to this objective standard If you find that this threshold objective
standard is satisfied, then the patent owner must also demonstrate that this objectively-
defined risk was either known or so obvious that it should have been known to the
accused infringer.

The issue of willful infringement is relevant, not to your decision of whether or not
there is infringement, but rather to the amount of damages to which Sprint is entitled. A
finding of willfi.il infringement may, in certain circumstances, entitle the patent owner to
increased damages If you decide that Vonage willfully infringed any of the asserted
patent claims, then it is my job to decide whether or not to award increased damages to

Sprint.

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INSTRUCTION NO. 35
You should not consider the fact that I have instructed you about the proper
measure of damages as an indication of my views regarding which party is entitled to
your verdict in this case. I am giving you instructions about damages solely to provide

you with guidance if you should find in favor of Sprint.

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INSTRUCTION NO. 36
You are to determine the weight and credit to give each witness’s testimony. You
have a right to use common knowledge and experience in evaluating witnesses’

testimony.

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INSTRUCTION NO. 37
A witness’s credibility may be attacked by evidence that on some former occasion
he or she made a statement, acted in a manner, or testified in a deposition that was
inconsistent with his or her testimony in this case.
You may consider such evidence only insofar as it may impact the witness’s
credibility - that is, only in deciding the weight and credit to be given to that witness’s

testimony.

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INSTRUCTION NO. 38
Certain testimony has been given in this case by experts', that is, by persons who
are specially qualified by experience or training and possess knowledge on matters not
common to mankind in general The law permits such persons to give their opinions
regarding such matters. The testimony of experts is to be considered like any other
testimony and is to be tried by the same tests, and should receive such weight and credit
as you deem it entitled to, when viewed in connection with all the other facts and

circumstances, and its weight and value are questions for you,

 

 

 

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INSTRUCTION NO. 39

Burden of proof means burden of persuasion In a patent case such as this, there
are two different burdens of proof.

One is called the preponderance of the evidence This burden of proof stande
requires that, in order for a party to prevail, you must be persuaded that the party’s claim
is more probably true than not true

The second burden of proof standard is a higher one lt is called clear and
convincing evidence Clear and convincing evidence is described as evidence which
produces in your mind an abiding conviction that the truth of a contention is highly
probable

You must decide essentially four main issues in this case The burden of proof on
those issues is as follows.

l.) Infn'ngement. Sprint has the burden of proof on its claim that Vonage’s
accused system infringes the asserted patent claims. Sprint must prove this claim by a
preponderance of the evidence

2.) lnvalidig. Vonage has the burden of proving that the claims of the asserted
patent claims are invalid. Vonage must prove this claim by clear and convincing
evidence

3.) Damages. Sprint has the burden of proving damages by a preponderance of
the evidence If you find that Sprint has met its burden of proof on its infringement claim

as to any one of the asserted patent claims and also that Vonage has not met its burden of

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proof on the issue of invalidity as to that particular claim, you must then determine the
amount, if any, to which Sprint has proven it is entitled, by the preponderance of the
evidence as damages to compensate for the infringement

4.) Willfulness. If you find that Sprint has met its burden of proof on its
infringement claim as to any one of the asserted patent claims and also that Vonage has
not met its burden of proof on invalidity as to that particular claim, you must then
determine whether Sprint has proven, by clear and convincing evidence, that Vonage’s
infringement was willful Sprint has the burden of proof on this issue

In determining whether a party has met its burden, consider all the evidence,
whether produced by Sprint or by Vonage The weight of the evidence on any issue is not
determined by the number of witnesses but rather by how reasonable persuasive and

satisfying the evidence is to you.

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INSTRUCTION NO. 40
There are two types of evidence. One is direct evidence, such as the testimony of
someone who claims to have seen or heard an event. The other is circumstantial
evidence, such as evidence from which you can reasonably draw inferences about
whether an event did or did not occur.
The law does not distinguish between direct and circumstantial evidence, but
rather simply requires the jury to find the facts in accordance with the preponderance of

all the evidence in the case, both direct and circumstantial.

 

 

 

 

    

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INSTRUCTION NO. 41

You are the exclusive judges of the facts proved, the weight of the evidence, and
the credibility of the witnesses In determining the issues in this case you will, of course,
rely upon the evidence you heard in the courtroom and will not be swayed by sympathy,
passion, or prejudice You may and should, however, rely on the general information you
possess as to matters of common knowledge, observation, and life experience In
weighing the testimony of witnesses, you may consider their appearance, demeanor,
means of knowledge, apparent intelligence or ignorance, whether or not they have an
interest in the outcome of the case, and all other facts and circumstances evident at trial
that will help you determine the truth.

If you believe that any witness testified falsely about any material fact, you may
disregard all or any part of his or her testimony, but you are not required to believe or
disbelieve the testimony of any witness You should reconcile any conflicting testimony
as truthful if reasonably possible, but if doing so is not possible then use your best
judgment in determining what testimony to believe.

When weighing conflicting testimony, you should consider whether the
discrepancy has to do with a material factor with an unimportant detail. You should keep
in mind that making an innocent mistake in memory - like being unable to remember - is

not uncommon

 

 

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INSTRUCTION NO. 42

Your verdict must represent the considered judgment of each juror. In order to
return a verdict, each juror must agree upon the verdict and your verdict must be
unanimous

If you do not reach a verdict, the parties may be put to the expense of another trial
and will once again have to endure the mental and emotional strain of a trial. If the case
is retried, a future jury must be selected in the same manner and from the same source as
you have been chosen, and there is no reason to believe that the case would ever be
submitted to a more competent jury. There is no reason to believe that there will be more
or clearer evidence produced at a future trial.

As jurors you have a duty to consult with one another and to deliberate with a view
to reaching an agreement, if you can do so without violence to individual judgment Each
of you must decide the case for yourself, but do so only after considering the evidence
impartially with your fellow jurors. In the course of your deliberations, do not hesitate to
re-examine your own views and change your opinion if you become convinced that it is
wrong. But do not surrender your honest conviction as to the weight or effect of the
evidence solely because of the opinion of your fellow jurors, or for the mere purpose of
returning a verdict.

You are not partisans. You are judges - judges of the facts. Your sole interest is

to ascertain the truth from the evidence in the case.

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l`NSTRUCTION NO. 43
In considering the evidence in this case, you should use your good sense, consider
the evidence only for those purposes for which it was admitted, and give the evidence a
reasonable and fair construction in light of your common knowledge of the natural
tendencies and inclinations of human beings.
You are to perform your duty without bias as to any party or person. The law does

not permit jurors to be governed by sympathy, prejudice, or public opinion.

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INS'I`RUCTION NO. 44

When you retire to the jury room, you should first select one of you as the
foreperson to preside over your deliberations, speak for the jury when in court, and sign
the verdict. ,

Your verdict must be founded entirely upon the evidence admitted and the law that
I have given to you in these instructions

Your Verdict must be unanimous Once you reach a unanimous verdict, the
foreperson should fill in, date, and sign the verdict form. The foreperson will carry the
completed verdict into the courtroom and, after we have returned to the courtroom, hand

it to the clerk when instructed to do so.

 

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INSTRUCTION NO. 45

If it becomes necessary during your deliberations to communicate with me, please
do so by giving a note to the bailiff who, in turn, will pass the note along to me. The note
must be signed by your foreperson or by one or more of you. None of you should ever
attempt to communicate with me about the merits of the case in any way other than by a
signed writing. I will not communicate with any of you on any subject involving the
merits of the case other than in writing, or orally here in open court.

You will note from the oath about to be taken by the bailiffs that they and all other
persons are forbidden from communicating with any of you about any subject involving
the merits of the case.

Bear in mind also that you are never to reveal to any person how the jury stands
numerically or otherwise on the questions before you until after you have reached a

unanimous verdict.

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Date l ohn W. Lungstrum
United States District J e

 

 

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